Case: 23-40556     Document: 134-1         Page: 1   Date Filed: 08/26/2024




        United States Court of Appeals
             for the Fifth Circuit
                           _____________                  United States Court of Appeals
                                                                   Fifth Circuit

                                                                 FILED
                             No. 23-40556                  August 26, 2024
                           _____________
                                                            Lyle W. Cayce
Blake J. Watterson,                                              Clerk


                                                       Plaintiff—Appellant,

                                  versus

Bureau of Alcohol, Tobacco, Firearms, and Explosives;
Steven Dettelbach, in his official capacity as Director of the Bureau of
Alcohol, Tobacco, Firearms and Explosives; United States
Department of Justice; Merrick Garland, U.S. Attorney
General; United States of America,

                                                     Defendants—Appellees,

                        consolidated with
                          _____________

                             No. 23-11157
                           _____________

Second Amendment Foundation, Incorporated; Rainier
Arms, L.L.C.; Samuel Walley; William Green,

                                                      Plaintiffs—Appellants,

                                  versus

Bureau of Alcohol, Tobacco, Firearms, and Explosives;
Steven Dettelbach, in his official capacity Director of the Bureau of
Alcohol Tobacco Firearms and Explosives; United States
Case: 23-40556      Document: 134-1           Page: 2   Date Filed: 08/26/2024

                                  No. 23-40556
            c/w Nos. 23-11157, 23-11199, 23-11203, 23-11204, 23-40685

Department of Justice; Merrick Garland, U.S. Attorney
General,

                                                         Defendants—Appellees,

                          consolidated with
                            _____________

                               No. 23-11199
                             _____________

William T. Mock; Christopher Lewis; Firearms Policy
Coalition, Incorporated, a nonprofit corporation; Maxim
Defense Industries, L.L.C.,

                                                           Plaintiffs—Appellees,

                                     versus

Merrick Garland, U.S. Attorney General, in his official capacity as
Attorney General of the United States; United States Department
of Justice; Bureau of Alcohol, Tobacco, Firearms, and
Explosives; Steven Dettelbach, in his official capacity as the
Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives,

                                                        Defendants—Appellants,

                          consolidated with
                            _____________

                               No. 23-11203
                             _____________

Darren A. Britto; Gabriel A. Tauscher; Shawn M.
Kroll,

                                                           Plaintiffs—Appellees,




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Case: 23-40556    Document: 134-1           Page: 3   Date Filed: 08/26/2024

                                No. 23-40556
          c/w Nos. 23-11157, 23-11199, 23-11203, 23-11204, 23-40685

                                   versus

Bureau of Alcohol, Tobacco, Firearms, and Explosives,

                                                       Defendant—Appellant,

                        consolidated with
                          _____________

                             No. 23-11204
                           _____________

Texas Gun Rights, Incorporated; National Association
for Gun Rights, Incorporated,

                                                         Plaintiffs—Appellees,

                                   versus

Bureau of Alcohol, Tobacco, Firearms, and Explosives,

                                                       Defendant—Appellant,

                        consolidated with
                          _____________

                             No. 23-40685
                           _____________

State of Texas; Gun Owners of America, Incorporated;
Gun Owners Foundation; Brady Brown,

                                                         Plaintiffs—Appellees,

                                   versus




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Case: 23-40556       Document: 134-1         Page: 4     Date Filed: 08/26/2024

                                   No. 23-40556
             c/w Nos. 23-11157, 23-11199, 23-11203, 23-11204, 23-40685

Bureau of Alcohol, Tobacco, Firearms, and Explosives;
United States Department of Justice; Steven M.
Dettelbach, Director of ATF,

                                       Defendants—Appellants.
               ______________________________

           Appeals from the United States District Court
                   for the Eastern District of Texas
                        USDC No. 4:23-CV-80
                  for the Northern District of Texas
     USDC Nos. 3:21-CV-116, 4:23-CV-95, 2:23-CV-19, 4:23-CV-578
                and for the Southern District of Texas
                       USDC No. 6:23-CV-13
           ______________________________

Before Jones, Smith, and Ho, Circuit Judges.
Per Curiam: *
       In one of the six consolidated appeals, Mock v. Garland, No. 23-11199,
the Government has moved to dismiss its appeal as moot because the district
court has entered a final judgment in the case. In light of this development,
we DISMISS all the consolidated appeals as moot.
       The consolidated appeals are from orders granting or denying motions
to preliminarily enjoin the enforcement of a rule issued by the Bureau of Al-
cohol, Tobacco, Firearms, and Explosives. In Mock, the district court pro-
ceeded to final judgment while the appeal from its preliminary injunction or-
der was pending. The district court’s final judgment vacated BATFE’s rule
under the Administrative Procedure Act. The Government has appealed the



       _____________________
       *
         Pursuant to 5th Circuit Rule 47.5, the court has determined that this
opinion should not be published and is not precedent except under the limited
circumstances set forth in 5th Circuit Rule 47.5.4.




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Case: 23-40556       Document: 134-1         Page: 5     Date Filed: 08/26/2024




                                     23-40556
             c/w Nos. 23-11157, 23-11199, 23-11203, 23-11204, 23-40685

district court’s ruling and has not moved for a stay pending appeal. See Case
No. 24-10743.
       An appeal is moot when “the preliminary injunctions no longer pro-
vide Plaintiffs ‘any effectual relief.’” U.S. Navy Seals 1–26 v. Biden, 72 F.4th
666, 672 (5th Cir. 2023) (citing Spell v. Edwards, 962 F.3d 175, 179 (5th Cir.
2020)); see also Carr v. Davis, 865 F.3d 210, 210 (5th Cir. 2017) (per curiam)
(“The entry of a final judgment on a request for permanent injunctive relief
renders moot any appeal of an order ruling on a temporary request for the
same relief.” (citation omitted)). Because the rule that Plaintiffs seek to pre-
liminarily enjoin enforcement of has been vacated and will remain vacated at
least until this court decides the new appeal in Mock, a preliminary injunction
would not provide Plaintiffs with any effectual relief. We accordingly DIS-
MISS all six of the consolidated appeals as moot.




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